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 5
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 6    VICTOR AGUIRRE
 7
 8                              UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10
      VICTOR AGUIRRE,                                  Case No.:
11
               Plaintiff,                              COMPLAINT FOR INJUNCTIVE
12                                                     RELIEF AND DAMAGES FOR
            vs.                                        VIOLATION OF:
13
                                                       1. AMERICANS WITH DISABILITIES
14    ADNAN AYOUB, AS TRUSTEE OF                       ACT, 42 U.S.C. §12131 et seq.;
      THE AYOUB REVOCABLE LIVING
15                                                     2. CALIFORNIA’S UNRUH CIVIL
      TRUST; and DOES 1 to 10,                         RIGHTS ACT, CAL CIV. CODE §§ 51 -
16                                                     52 et seq.;
                   Defendants.
17                                                     3. CALIFORNIA’S DISABLED
                                                       PERSONS ACT, CAL CIV. CODE §54 et
18                                                     seq.
19                                                     4. CALIFORNIA’S UNFAIR
                                                       COMPETITION ACT, CAL BUS & PROF
20                                                     CODE § 17200, et seq.
21                                                     5. NEGLIGENCE
22
23
24          Plaintiff VICTOR AGUIRRE (“Plaintiff”) complains of Defendants ADNAN
25    AYOUB, AS TRUSTEE OF THE AYOUB REVOCABLE LIVING TRUST; and DOES
26    1 to 10 (“Defendants”) and alleges as follows:
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                                   COMPLAINT FOR DAMAGES - 1
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 1                                  JURISDICTION AND VENUE
 2          1.      The Court has jurisdiction of this action pursuant to 28 USC §1331 for
 3    violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et seq.)
 4          2.      Pursuant to pendant jurisdiction, attendant and related causes of action,
 5    arising from the same nucleus of operating facts, are also brought under California law,
 6    including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 7    54, 54., 54.3 and 55.
 8          3.      Venue is proper in this court pursuant to 28 USC §1391(b). The real
 9    property which is the subject of this action is located in this district, Los Angeles County,
10    California, and that Plaintiff’s causes of action arose in this district.
11                                              PARTIES
12          4.      Plaintiff is a California resident with a physical disability with substantial
13    limitation in his ability to walk. Plaintiff suffers from complete tetraplegia due to lesion
14    at C5-C7 level and requires the use of a wheelchair at all times when traveling in public.
15          5.      Defendants are, or were at the time of the incident, the real property owners,
16    business operators, lessors and/or lessees of the real property for a gas station and
17    convenience store (“Business”) located at or about 825 N. Central Ave., Glendale,
18    California.
19          6.      The true names and capacities, whether individual, corporate, associate or
20    otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
21    who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
22    Court to amend this Complaint when the true names and capacities have been
23    ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
24    fictitiously named Defendants are responsible in some manner, and therefore, liable to
25    Plaintiff for the acts herein alleged.
26          7.      Plaintiff is informed and believes, and thereon alleges that, at all relevant
27    times, each of the Defendants was the agent, employee, or alter-ego of each of the other
28    Defendants, and/or was acting in concert with each of the other Defendants, and in doing



                                     COMPLAINT FOR DAMAGES - 2
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 1    the things alleged herein was acting with the knowledge and consent of the other
 2    Defendants and within the course and scope of such agency or employment relationship.
 3          8.     Whenever and wherever reference is made in this Complaint to any act or
 4    failure to act by a defendant or Defendants, such allegations and references shall also be
 5    deemed to mean the acts and failures to act of each Defendant acting individually, jointly
 6    and severally.
 7                                  FACTUAL ALLEGATIONS
 8          9.     In or about January of 2021 Plaintiff went to the Business. In or about
 9    February of 2021, Plaintiff revisited the Business. The Business is a gas station and
10    convenience store business establishment, which is open to the public, and is a place of
11    public accommodation and affects commerce through its operation. Defendants provide
12    parking spaces for customers.
13          10.    While attempting to enter the Business during each visit, Plaintiff personally
14    encountered a number of barriers that interfered with his ability to use and enjoy the
15    goods, services, privileges, and accommodations offered at the Business. To the extent
16    of Plaintiff’s personal knowledge, the barriers at the Business included, but were not
17    limited to, the following:
18                 a.     Defendants failed to comply with the federal and state standards for
19                        the parking space designated for persons with disabilities. Defendants
20                        failed to post required signage such as “Minimum Fine $250.”
21                 b.     Defendant failed to maintain the parking space designated for persons
22                        with disabilities to comply with the federal and state standards.
23                        Defendants failed to provide the access aisles with level surface
24                        slopes.
25                 c.     Defendant failed to maintain the parking space designated for persons
26                        with disabilities to comply with the federal and state standards.
27                        Defendants failed to maintain the paint on the ground as required.
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                                    COMPLAINT FOR DAMAGES - 3
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 1          11.    These barriers and conditions denied Plaintiff the full and equal access to the
 2    Business. Plaintiff wishes to patronize the Business again. However, Plaintiff is deterred
 3    from visiting the Business because his knowledge of these violations prevents him from
 4    returning until the barriers are removed.
 5          12.    Based on the violations, Plaintiff alleges, on information and belief, that
 6    there are additional barriers to accessibility at the Business after further site inspection.
 7    Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
 8    Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
 9          13.    In addition, Plaintiff alleges, on information and belief, that Defendants
10    knew that particular barriers render the Business inaccessible, violate state and federal
11    law, and interfere with access for the physically disabled.
12          14.    At all relevant times, Defendants had and still have control and dominion
13    over the conditions at this location and had and still have the financial resources to
14    remove these barriers without much difficulty or expenses to make the Business
15    accessible to the physically disabled in compliance with ADDAG and Title 24
16    regulations. Defendants have not removed such barriers and have not modified the
17    Business to conform to accessibility regulations.
18                                    FIRST CAUSE OF ACTION
19        VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
20          15.    Plaintiff incorporates by reference each of the allegations in all prior
21    paragraphs in this complaint.
22          16.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
23    shall be discriminated against on the basis of disability in the full and equal enjoyment of
24    the goods, services, facilities, privileges, advantages, or accommodations of any place of
25    public accommodation by any person who owns, leases, or leases to, or operates a place
26    of public accommodation. See 42 U.S.C. § 12182(a).
27          17.    Discrimination, inter alia, includes:
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                                      COMPLAINT FOR DAMAGES - 4
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 1               a.    A failure to make reasonable modification in policies, practices, or
 2                     procedures, when such modifications are necessary to afford such
 3                     goods, services, facilities, privileges, advantages, or accommodations
 4                     to individuals with disabilities, unless the entity can demonstrate that
 5                     making such modifications would fundamentally alter the nature of
 6                     such goods, services, facilities, privileges, advantages, or
 7                     accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 8               b.    A failure to take such steps as may be necessary to ensure that no
 9                     individual with a disability is excluded, denied services, segregated or
10                     otherwise treated differently than other individuals because of the
11                     absence of auxiliary aids and services, unless the entity can
12                     demonstrate that taking such steps would fundamentally alter the
13                     nature of the good, service, facility, privilege, advantage, or
14                     accommodation being offered or would result in an undue burden. 42
15                     U.S.C. § 12182(b)(2)(A)(iii).
16               c.    A failure to remove architectural barriers, and communication barriers
17                     that are structural in nature, in existing facilities, and transportation
18                     barriers in existing vehicles and rail passenger cars used by an
19                     establishment for transporting individuals (not including barriers that
20                     can only be removed through the retrofitting of vehicles or rail
21                     passenger cars by the installation of a hydraulic or other lift), where
22                     such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
23               d.    A failure to make alterations in such a manner that, to the maximum
24                     extent feasible, the altered portions of the facility are readily
25                     accessible to and usable by individuals with disabilities, including
26                     individuals who use wheelchairs or to ensure that, to the maximum
27                     extent feasible, the path of travel to the altered area and the
28                     bathrooms, telephones, and drinking fountains serving the altered



                                 COMPLAINT FOR DAMAGES - 5
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 1                        area, are readily accessible to and usable by individuals with
 2                        disabilities where such alterations to the path or travel or the
 3                        bathrooms, telephones, and drinking fountains serving the altered
 4                        area are not disproportionate to the overall alterations in terms of cost
 5                        and scope. 42 U.S.C. § 12183(a)(2).
 6          18.    Where parking spaces are provided, accessible parking spaces shall be
 7    provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
 8    eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
 9    (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
10    Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
11    be van parking space. 2010 ADA Standards § 208.2.4.
12          19.    Under the ADA, the method and color of marking are to be addressed by
13    State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
14    Building Code (“CBC”), the parking space identification signs shall include the
15    International Symbol of Accessibility. Parking identification signs shall be reflectorized
16    with a minimum area of 70 square inches. Additional language or an additional sign
17    below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
18    parking space identification sign shall be permanently posted immediately adjacent and
19    visible from each parking space, shall be located with its centerline a maximum of 12
20    inches from the centerline of the parking space and may be posted on a wall at the
21    interior end of the parking space. See CBC § 11B-502.6, et seq.
22          20.    Moreover, an additional sign shall be posted either in a conspicuous place at
23    each entrance to an off-street parking facility or immediately adjacent to on-site
24    accessible parking and visible from each parking space. The additional sign shall not be
25    less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
26    letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
27    designated accessible spaces not displaying distinguishing placards or special license
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 1    plates issued for persons with disabilities will be towed always at the owner’s expense…”
 2    See CBC § 11B-502.8, et seq.
 3          21.    Here, Defendants failed to provide signs stating “Minimum Fine $250.”
 4          22.    Under the 1991 Standards, parking spaces and access aisles must be level
 5    with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
 6    Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
 7    shall be part of an accessible route to the building or facility entrance and shall comply
 8    with 4.3. Two accessible parking spaces may share a common access aisle. Parked
 9    vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
10    and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
11    directions. 1991 Standards § 4.6.3.
12          23.    Here, the access aisles are not level with the parking spaces. Under the 2010
13    Standards, access aisles shall be at the same level as the parking spaces they serve.
14    Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
15    to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
16    2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted. 2010
17    Standards § 502.4. Here, the failure to provide level parking is a violation of the law.
18          24.    For the parking spaces, access aisles shall be marked with a blue painted
19    borderline around their perimeter. The area within the blue borderlines shall be marked
20    with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
21    with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
22    be painted on the surface within each access aisle in white letters a minimum of 12 inches
23    (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
24    11B-502.3.3.
25          25.    Here, Defendants failed to properly maintain the access aisles as there were
26    no “NO PARKING” and faded blue lines painted on the parking surface.
27          26.    A public accommodation shall maintain in operable working condition those
28    features of facilities and equipment that are required to be readily accessible to and usable



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 1    by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a). By failing to
 2    maintain the facility to be readily accessible and usable by Plaintiff, Defendants are in
 3    violation of Plaintiff’s rights under the ADA and its related regulations.
 4          27.    The Business has denied and continues to deny full and equal access to
 5    Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
 6    discriminated against due to the lack of accessible facilities, and therefore, seeks
 7    injunctive relief to alter facilities to make such facilities readily accessible to and usable
 8    by individuals with disabilities.
 9                                  SECOND CAUSE OF ACTION
10                    VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
11          28.    Plaintiff incorporates by reference each of the allegations in all prior
12    paragraphs in this complaint.
13          29.    California Civil Code § 51 states, “All persons within the jurisdiction of this
14    state are free and equal, and no matter what their sex, race, color, religion, ancestry,
15    national origin, disability, medical condition, genetic information, marital status, sexual
16    orientation, citizenship, primary language, or immigration status are entitled to the full
17    and equal accommodations, advantages, facilities, privileges, or services in all business
18    establishments of every kind whatsoever.”
19          30.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
20    or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
21    for each and every offense for the actual damages, and any amount that may be
22    determined by a jury, or a court sitting without a jury, up to a maximum of three times the
23    amount of actual damage but in no case less than four thousand dollars ($4,000) and any
24    attorney’s fees that may be determined by the court in addition thereto, suffered by any
25    person denied the rights provided in Section 51, 51.5, or 51.6.
26          31.    California Civil Code § 51(f) specifies, “a violation of the right of any
27    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
28    shall also constitute a violation of this section.”



                                      COMPLAINT FOR DAMAGES - 8
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 1          32.    The actions and omissions of Defendants alleged herein constitute a denial
 2    of full and equal accommodation, advantages, facilities, privileges, or services by
 3    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
 4    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
 5    51 and 52.
 6          33.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
 7    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
 8    damages as specified in California Civil Code §55.56(a)-(c).
 9                                  THIRD CAUSE OF ACTION
10                 VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
11          34.    Plaintiff incorporates by reference each of the allegations in all prior
12    paragraphs in this complaint.
13          35.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
14    entitled to full and equal access, as other members of the general public, to
15    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
16    and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
17    railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
18    of transportation (whether private, public, franchised, licensed, contracted, or otherwise
19    provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
20    places of public accommodations, amusement, or resort, and other places in which the
21    general public is invited, subject only to the conditions and limitations established by
22    law, or state or federal regulation, and applicable alike to all persons.
23          36.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
24    corporation who denies or interferes with admittance to or enjoyment of public facilities
25    as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
26    individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
27    the actual damages, and any amount as may be determined by a jury, or a court sitting
28    without a jury, up to a maximum of three times the amount of actual damages but in no



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 1     case less than one thousand dollars ($1,000) and any attorney’s fees that may be
 2     determined by the court in addition thereto, suffered by any person denied the rights
 3     provided in Section 54, 54.1, and 54.2.
 4            37.   California Civil Code § 54(d) specifies, “a violation of the right of an
 5     individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
 6     constitute a violation of this section, and nothing in this section shall be construed to limit
 7     the access of any person in violation of that act.
 8            38.   The actions and omissions of Defendants alleged herein constitute a denial
 9     of full and equal accommodation, advantages, and facilities by physically disabled
10     persons within the meaning of California Civil Code § 54. Defendants have
11     discriminated against Plaintiff in violation of California Civil Code § 54.
12            39.   The violations of the California Disabled Persons Act caused Plaintiff to
13     experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
14     statutory damages as specified in California Civil Code §55.56(a)-(c).
15                                  FOURTH CAUSE OF ACTION
16                                  UNFAIR COMPETITION ACT
17            40.   Plaintiff incorporates by reference each of the allegations in all prior
18     paragraphs in this complaint.
19            41.   Defendants have engaged in unfair competition, unfair or fraudulent
20     business practices, and unfair, deceptive, untrue or misleading advertising in violation of
21     the Unfair Competition Act. Bus & Prof. Code §§ 17200 et seq.
22            42.   Defendants engage in business practices and policies that create systemic
23     barriers to full and equal access for people with disability in violation of state and federal
24     law.
25            43.   The actions and omissions of Defendants are unfair and injurious to
26     Plaintiff, a consumer of the Business’ goods and services. As a result of Defendants’
27     unfair business practice and policies, Plaintiff suffered injury in fact. Plaintiff was not
28     provided with goods and services provided to other consumers. Plaintiff seeks relief



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 1     necessary to prevent Defendants’ continued unfair business practices and policies and
 2     restitution of any month that Defendants acquired by means of such unfair competition,
 3     including profits unfairly obtained.
 4                                     FIFTH CAUSE OF ACTION
 5                                            NEGLIGENCE
 6            44.    Plaintiff incorporates by reference each of the allegations in all prior
 7     paragraphs in this complaint.
 8            45.    Defendants have a general duty and a duty under the ADA, Unruh Civil
 9     Rights Act and California Disabled Persons Act to provide safe and accessible facilities
10     to the Plaintiff.
11            46.    Defendants breached their duty of care by violating the provisions of ADA,
12     Unruh Civil Rights Act and California Disabled Persons Act.
13            47.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
14     has suffered damages.
15                                       PRAYER FOR RELIEF
16            WHEREFORE, Plaintiff respectfully prays for relief and judgment against
17     Defendants as follows:
18            1.     For preliminary and permanent injunction directing Defendants to comply
19     with the Americans with Disability Act and the Unruh Civil Rights Act;
20            2.     Award of all appropriate damages, including but not limited to statutory
21     damages, general damages and treble damages in amounts, according to proof;
22            3.     Award of all reasonable restitution for Defendants’ unfair competition
23     practices;
24            4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
25     action;
26            5.     Prejudgment interest pursuant to California Civil Code § 3291; and
27            6.     Such other and further relief as the Court deems just and proper
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 1                                DEMAND FOR TRIAL BY JURY
 2           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 3     demands a trial by jury on all issues so triable.
 4
 5     Dated: April 14, 2021                   SO. CAL. EQUAL ACCESS GROUP
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 7
 8                                             By:   _/s/ Jason J. Kim____________
                                                     Jason J. Kim, Esq.
 9                                             Attorneys for Plaintiff
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                                     COMPLAINT FOR DAMAGES - 12
